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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              OCALA DIVISION


IN THE MATTER OF THE ISSUANCE
OF A CRIMINAL COMPLAINT FOR                           CASE NO. 5:23-mj-1278-PRL
BRETT BALDWIN.


                                     IN CAMERA

                        MOTION TO SEAL COMPLAINT
                         AND RELATED DOCUMENTS

      The United States of America, by Roger B. Handberg, United States Attorney

for the Middle District of Florida, respectfully moves this Court to seal the (1)

Affidavit for Complaint, (2) Complaint, (3) Arrest Warrant, (4) this Motion to Seal,

and (5) any other documents filed in this case that would identify the defendant.

      Disclosure of the contents of the affidavit may cause the subject to flee,

destroy evidence, and disclose facts which jeopardize an ongoing criminal

investigation.

      The United States further requests that the Court’s Order direct the United

States Marshals Service to release certified copies of the arrest warrant to the case

agent or other appropriate law enforcement and/or to the United States Attorney’s

Office, upon verbal request of the United States Attorney’s Office to the United

States Marshals Service, without further order of the Court.

      The United States further requests that the Court’s Order direct the United

States Marshals Service or other appropriate law enforcement agency to enter the
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arrest warrant into the National Crime Information Center (NCIC) database or other

appropriate law enforcement database, without further order of the Court.

      The United States further requests that the Court’s Order allow the United

States to disclose the existence of the Complaint in any subsequent search and/or

seizure warrants which may be executed in conjunction with the arrest of the

defendant.

      The United States further moves that the Court direct the Clerk to unseal the

documents described herein without further order when the defendant is taken into

custody.

      WHEREFORE, the United States respectfully moves the Court to seal (1)

Affidavit for Complaint, (2) Complaint, (3) Arrest Warrant, (4) this Motion to Seal,

and (5) any other documents filed in this case that would identify the defendant.

                                       Respectfully submitted,

                                       ROGER B. HANDBERG
                                       United States Attorney


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